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 7
 8                       IN THE UNITED STATES DISTRICT COURT

 9                             FOR THE DISTRICT OF ARIZONA
10
     United States of America,                     Case No. 2:19-cr-00898-DLR (DMF)
11
                          Plaintiff,               MOTION # 2 TO DISMISS COUNTS
12                                                 11-and 12 and ALLEGATIONS IN
           vs.                                     THE INDICTMENT NOT
13
     David Allen Harbour,                          AMOUNTING THE CHARGES
14                                                 PURSUANT TO 18 U.S.C. § 3282
15                        Defendant.
                                                   ORAL ARGUMENT REQUESTED
16
17          Defendant, David Harbour, by and through undersigned counsel, respectively
18
     moves this Court to dismiss Counts 11 and 12 of the Second Superseding Indictment
19
     (“SSI”) (doc. 387) and to strike allegations in the SSI not amounting to actual counts
20
21   pursuant to 18 U.S.C. § 3282 and Federal Rule of Criminal Procedure 12(b)(3)(B) as the
22   statute of limitations has passed.
23
                                          BACKGROUND
24
            This Motion is titled “Number 2” signifying that it should be read and considered
25
26   after Motion Number 1, which is the Motion to Strike Portions of the Indictment as
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 1   Surplusage. The explanation for the Order in which these Motions should be considered
 2   is outlined in Motion Number 1.
 3
             The Indictment, Doc. 3, filed 7/30/19 contained the names of two “victim-
 4
 5   investors,” as the government has termed them, and three “victims.” This is an undefined

 6   term and is confusing. Originally, the victim-investors who were not “charged” victims
 7   were R.G. and C.W. (who was later dropped). R.G. was the subject of pretrial motions
 8
     activity focused not on the criminal trial on guilt beyond a reasonable doubt but on the
 9
     potential later criminal forfeiture proceeding about which this defense team is presently
10
11   unconcerned. The victims were R.T., M.B., and Green Circle, by which the government
12   meant PAIF. The Superseding Indictment, Doc. 154, filed 11/24/20, added two new
13
     charged victims, C.H. and A.W., both mail fraud counts, and two new victim-investors,
14
     P.H. (husband of C.H.) and D.W. (husband of A.W.).
15
16           The “SSI”, Doc. 387, filed 6/14/22, added no new “victims” and three new
17   investor-victims, K.B. and his ex-wife, P.C. and J.C.1 Thus, as detailed more fully in
18
     Motion #1, there are now 5 “victims” and 6 “investor-victims,” whom, for sake of
19
     convenience, we refer to as the Group of 5 and the Group of 6. The purpose of Motion #1
20
21   is to eliminate the Group of 6 from the trial or trials that will commence on February 1,
22   2023. The rationale for doing so is outlined in Motion # 1.
23
24   1
       We do not address here the tax charges added in the Superseding Indictment nor the
25   “mortgage fraud” charges added in the SSI. These charges are addressed in Motion
     Number 3, the Motion to Sever and for Relief from Prejudicial Joinder. While there are a
26   myriad of problems for the government buried in those charges, all of them, prudently,
27   ought to wait for jeopardy to attach. For the present, it is sufficient that they be severed
     from the “payday loan” charges that remain the “heartland” of the prosecution.
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 1          With respect to “victims,” this Motion addresses the Statute of Limitations
 2   applicable to A.W. and C.H., the two alleged mail fraud victims (Counts 11 and 12). With
 3
     respect to the Group of 6, this Motion addresses the Statute of Limitations which is
 4
 5   applicable to them all. Importantly, however, if Motion #1 is granted and, as a result,

 6   neither the Group of 6, themselves, e.g., as witnesses, nor any claims with respect to the
 7   Group of 6 will be presented to the petit jury that will determine whether Harbour is
 8
     guilty beyond a reasonable doubt with respect to Counts 1-23 (wire fraud, mail fraud,
 9
     money laundering), then a decision on the Statute of Limitations with respect to the so-
10
11   called “victim-investors” can be deferred until the time that the criminal forfeiture
12   proceeding commences. Perforce, that will occur only if there is a conviction.
13
            The overriding difficulty here is that there is a mismatch between the government
14
     seeking a criminal forfeiture on behalf of persons who are not charged victims. Title 18
15
16   U.S.C. §982 provides that as a part of the sentencing of persons for, inter alia, mail fraud,
17   wire fraud and money laundering, the Court can order forfeited property traceable to the
18
     convicted offense. Here, there are three wire fraud, two mail fraud, and eleven money
19
     laundering charges involving the Group of 5, in bits and pieces, that do not involve any of
20
21   the Group of 6. We do not see a statutory basis to criminally forfeit property associated
22   with the Group of 6 of their claims.
23
            So, we are puzzled and hope the government explains how the Group of 6 belong
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     anywhere in the SSI, even if only for criminal forfeiture purposes. We suggest that the
25
26   transcript of the hearing on the previous motion to dismiss (August 20, 2020) suggests

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 1   that the Court also had difficulty with the concept the government was (and is, we think)
 2   trying to advance.
 3
            On the other hand, if, perchance, the Group of 6 (or their issues) are permitted to
 4
 5   be introduced before the petit jury, then the Court will need to determine whether the 5-

 6   year SOL applicable to the members of the Group of 6 has expired. Besides the obvious
 7   prejudice to Harbour of permitting the Group of 6 or their supposed losses from infecting
 8
     and potentially inflaming the petit jury, if, in addition, the SOL has expired, the prejudice
 9
     would seem even worse.
10
11                                     LEGAL STANDARD
12          F.R.Crim.Pro. 12 permits motions to dismiss an indictment, or portions of an
13
     indictment, where the government has failed to properly plead a case. Motions to dismiss
14
     an indictment exist to solely test the sufficiency of the indictment to charge an offense.
15
16   United States v. Luros, 243 F. Supp. 160, 165 (N.D. Iowa 1965). Only the words of the
17   indictment may be used to determine the sufficiency of the indictment and a court is not
18
     free to consider evidence that does not appear on the face of the indictment. Id. citing to
19
     United States v. South Florida Asphalt Co., 329 F.2d 860 (5th Cir. 1964); Padilla v.
20
21   United States, 278 F.2d 188 (5th Cir. 1960).
22          18 U.S.C. § 3282 states that an indictment for all offenses not capital must be
23
     brought within five years after the offense was committed. An exception to this rule is
24
     found in 18 U.S.C. § 3293 for when the government proves that wire fraud affects a
25
26   financial institution; in that instance, a ten-year statute of limitations applies. Where a

27   statute of limitation applies to the indictment itself, a defense based on the statute must be
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 1   raised at trial or before trial on motion. Askins v. United States, 251 F.2d 909, 913 (D.C.
 2   Cir. 1958).
 3
                                            ARGUMENT
 4
 5           The statute of limitation period begins to run when all of the elements of the

 6   underlying offense have been committed. United States v. Charnay, 537 F.2d 341, 354
 7   (9th Cir. 1976); United States v. Drebin, 557 F.2d 1316, 1333 (9th Cir. 1977). Wire fraud
 8
     requires the government to prove (1) a scheme to defraud, (2) use of the wires in
 9
     furtherance of the scheme and (3) a specific intent to deceive or defraud. 18 U.S.C. §
10
11   1343; United States v. Hussain, 972 F.3d 1138, 1143 (9th Cir. 2020). For wire fraud,
12   completion of the fraud is defined to be the time at which benefits induced through the
13
     predicate fraudulent act are gained. United States v. Sebero, No. 08-CR-185-JLQ, 2009
14
     WL 720953, at *2 (E.D. Wash. Mar. 16, 2009), citing to Carroll v. United States, 326
15
16   F.2d 72, 86 (9th Cir. 1963).
17           Each use of a wire to further an intended scheme to defraud constitutes a separate
18
     offense of the wire fraud statue. United States v. Garlick, 240 F.3d 789, 792 (9th Cir.
19
     2001). Because each transmission of a wire is a separate offence, each transmission
20
21   carries its own statute of limitations. The governement has not pled that any of the
22   charged offenses subject to this motion targeted a financial institution2; rather, all of the
23
     victims are individuals. Thus, only the five-year statute of limitations applies.
24
25
26
     2
27    The Second Superseding Indictment does contain charges of bank fraud; however, those
     charges relate to the mortgage fraud issue and are not the subject of this current motion.
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 1          Absent laches or equitable tolling, courts may not ignore the statute of limitations.
 2   United States v. Marolf, 173 F.3d 1213, 1218 (9th Cir. 1999). Due to the strict nature of
 3
     statute of limitations and since wire fraud and mail fraud are completed at the time of the
 4
 5   defendant receiving the proceeds of the fraud, anything and everything associated with

 6   the Group of 6 is, putatively, beyond the 5-year SOL.
 7          Happily, in Doc. 267, p. 5, ll. 3-4, the government drew a line in the sand where it
 8
     conceded the SOL had expired, viz., “[a]lthough Hill’s $500,000 investment is outside the
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     statute of limitations, it is part of Harbour’s scheme.” This solves one issue. PH’s
10
11   advance to DNA Investments occurred on February 8, 2013. See, SSI, Doc. 387, p. 11, l.
12   21. However, the government’s sentence punctuates the overarching issue, the one that
13
     permeates Motion #1: the government has conflated the state’s (any state’s) scheme and
14
     artifice law, where the scheme and artifice to defraud constitutes the offense, with Federal
15
16   mail and wire fraud, where the mailing or the wire in furtherance of a scheme and artifice
17   constitutes the crime. Without the mailing or the wire, the mere scheme and artifice is not
18
     a Federal crime.
19
            Using the government’s concession as a guide, K.B. and his former wife, P.C.’s
20
21   December 2007 transaction is beyond the 5-year SOL. So, of course, putatively, is R.G.’s
22   March 22, 2010, transaction, C.H.’s December 15, 2012, transaction (Count 12), and
23
     J.C.’s 2012 transactions. However, since we can easily count backwards from July 30,
24
     2019 (Doc. 3, the Indictment), A.W.’s February 18, 2014, is also barred. So is D.W.’s
25
26   February 20, 2014 transaction. And it is easy to see that the government concedes the

27   applicability of the SOL to all of the Group of 6 because, if the government thought it had
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 1   a chance to argue that the SOL had not run, it would have made the Group of 6 charged
 2   victims.
 3
            Of course, neither of the two superseding indictments tolled the SOL with respect
 4
 5   to anything other than the counts that had been charged within the SOL, e.g., Counts 1-10

 6   (wire fraud) and money laundering. In fact, the wire fraud charges themselves reflect the
 7   government’s understanding that it is the use of the mails or of interstate wire facilities
 8
     that constitute the crimes; not the scheme, because there are three alleged wire fraud
 9
     victims and counts and eleven money laundering counts. “Generally speaking, the return
10
11   of an indictment tolls the statute of limitation with respect to the charges contained in the
12   indictment.” United States v. Pacheco, 912 F.2d 297, 305 (9th Cir.1990). Tolling then
13
     continues when the superseding indictment on the same charges is returned while the
14
     prior indictment is still pending. Id. However, if the counts in the superseding indictment
15
16   broaden or substantially amend the charges in the original indictment, the statute of
17   limitations would not have been tolled as to those charges. United States v. Liu, 731 F.3d
18
     982, 996 (9th Cir. 2013) quoting United States v. Sears, Roebuck & Co., 785 F.2d 777,
19
     778 (9th Cir.1986).
20
21          In determining if a superseding indictment substantially broadens or amends a
22   timely indictment, it is considered if the additional pleadings allege violations of a
23
     different statue, contain different elements, rely on different evidence, or expose the
24
     defendant to a potentially greater sentence. Id. “The central concern in determining
25
26   whether the counts in a superseding indictment should be tolled based on similar counts

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 1   included in the earlier indictment is notice.” United States v. Spanier, 744 F. App'x 351,
 2   354 (9th Cir. 2018).
 3
           In criminal cases, we do not often discuss equitable tolling but, rather,
 4
 5   circumstances that extend the end of the alleged crime and, thus, delay the inception of

 6   the SOL. This is where we expect the government to take their arguments concerning
 7   Counts 11 and 12 (A.W. and C.H.) and, if the government takes the position that the
 8
     Group of 6 are includable in the criminal trial, with respect to that as well. We will look
 9
     forward to learning the government’s position on Counts 11 and 12 and the Group of 6
10
11   and reply accordingly.
12         RESPECTFULLY SUBMITTED this 9th day of September 2022.
13
                                           CHRISTIAN DICHTER & SLUGA, P.C.
14
15
                                           By: /s/ Stephen M. Dichter
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19
20
21                               CERTIFICATE OF SERVICE
22          I hereby certify that on September 9, 2022, I electronically transmitted the
23   attached document to the Clerk’s Office using the CM/ECF system for filing and for
     transmittal of Notice of Electronic Filing to the following CM/ECF registrants:
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 4   /s/ Yvonne Canez

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